                     NOTICE: NOT FOR OFFICIAL PUBLICATION.
 UNDER ARIZONA RULE OF THE SUPREME COURT 111(c), THIS DECISION IS NOT PRECEDENTIAL
                 AND MAY BE CITED ONLY AS AUTHORIZED BY RULE.




                                    IN THE
             ARIZONA COURT OF APPEALS
                                DIVISION ONE


                        JOSEPH JIMENEZ, Petitioner,

                                        v.

 THE HONORABLE SCOTT MINDER, Judge of the SUPERIOR COURT
 OF THE STATE OF ARIZONA, in and for the County of MARICOPA,
                      Respondent Judge,

                STATE OF ARIZONA, Real Party in Interest.

                             No. 1 CA-SA 24-0056
                              FILED 08-27-2024

 Petition for Special Action from the Superior Court in Maricopa County
                          No. CR2023-007957-001
                    The Honorable Scott Minder, Judge

             JURISDICTION ACCEPTED; RELIEF DENIED


                                   COUNSEL

Maricopa County Office of the Legal Advocate, Phoenix
By Kerina Ibarra
Counsel for Petitioner

Maricopa County Attorney’s Office, Phoenix
By Quinton S. Gregory
Counsel for Real Party in Interest
                   JIMENEZ v. HON. MINDER/STATE
                         Decision of the Court



                       MEMORANDUM DECISION

Judge Kent E. Cattani delivered the decision of the Court, in which
Presiding Judge Daniel J. Kiley and Judge D. Steven Williams joined.


C A T T A N I, Judge:

¶1            Joseph Jimenez seeks special action review of the superior
court’s ruling dismissing the case against him without prejudice for a
speedy trial violation under Rule 8.3(b) of the Arizona Rules of Criminal
Procedure. Because Jimenez has no adequate remedy by appeal from an
order of dismissal without prejudice, we accept jurisdiction. See A.R.S. §
13-4033; Ariz. R.P. Spec. Act. 1(a); State v. Paris-Sheldon, 214 Ariz. 500, 508,
¶ 23 (App. 2007). For reasons that follow, however, we deny relief.

¶2             Jimenez was incarcerated in Arizona when the State filed new
criminal charges against him in September 2023. Jimenez requested final
disposition of the new charges, triggering a 90-day deadline under Rule
8.3(b)(3) for the State to bring him to trial. When 90 days had passed,
Jimenez moved to dismiss the charges against him with prejudice. After
full briefing and oral argument, the superior court found 90 days had
passed and dismissed the case, but did so without prejudice. Jimenez
sought special action review after the court denied his request for
reconsideration. We review the court’s dismissal ruling for an abuse of
discretion. State v. Leota, 256 Ariz. 320, 324, ¶ 16 (App. 2023).

¶3           Jimenez challenges the superior court’s decision to dismiss
the case without prejudice on two bases.

¶4            First, he argues that the Rule 8 violation caused him prejudice,
necessitating dismissal of the new charges with prejudice. A Rule 8
violation requires dismissal, but that dismissal may be either “with or
without prejudice.” Ariz. R. Crim. P. 8.6; see also State ex rel. Berger v.
Superior Court, 111 Ariz. 335, 340 (1974) (holding that dismissal for a Rule 8
violation is with or without prejudice “depending upon the facts of the
case”). The determinative factor in this analysis is whether the defendant
suffered prejudice due to the delay. Leota, 256 Ariz. at 325, ¶ 24 (collecting
cases). Cognizable prejudice for these purposes hinges on whether the
defendant’s ability to defend against the charges is impaired. Id. at 326, ¶¶
26–27.


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                   JIMENEZ v. HON. MINDER/STATE
                         Decision of the Court

¶5            Here, Jimenez has not articulated any specific prejudice to his
defense caused by the delay—e.g., that any evidence or witnesses may
become unavailable or that the delay hampered his ability to investigate his
case or prepare for trial. Instead, he asserts that being held in jail rather
than prison while the new charges were pending caused prejudice. But
variation in the conditions of his confinement is not cognizable prejudice
for Rule 8 purposes. See id. Likewise, the stress and anxiety he cites “are
insufficient on their own to establish prejudice under Rule 8.” Id. at ¶ 26.
And the fact that conviction of the new charges could result in additional
prison time is not prejudice attributable to pretrial delay but rather a risk
inherent in the new charges themselves. Accordingly, Jimenez has not
shown cognizable prejudice supporting dismissal with prejudice for the
Rule 8 violation.

¶6             Second, Jimenez asserts that disparate treatment of in-state
and out-of-state prisoners under Rule 8 violates equal protection
guarantees. As described above, for an in-state prisoner facing new
Arizona charges, Rule 8.6 permits dismissal “with or without prejudice” for
a Rule 8.3(b) speedy trial violation. An out-of-state prisoner facing Arizona
charges, however, is entitled to dismissal with prejudice if not timely
brought to trial after requesting final disposition. See A.R.S. § 31-481
(Interstate Agreement on Detainers, Art. III(d), Art. IV(e), Art. V(c)); Ariz.
R. Crim. P. 8.3(a).

¶7             Equal protection guarantees ensure that “all persons subject
to state legislation shall be treated alike under similar circumstances,” but
“statutes that treat different classes of individuals in different ways do not
always result in a denial of equal protection.” Crerand v. State, 176 Ariz.
149, 151 (App. 1993). Because prisoners are not a suspect class and Jimenez
has not asserted that the in-state/out-of-state classification implicates a
fundamental right, the classification is permissible if it is “rationally and
reasonably related to furthering some legitimate governmental interest.”
Id. at 152.

¶8            Here, in-state and out-of-state prisoners are not similarly
situated for Rule 8 speedy trial purposes, and the Interstate Agreement on
Detainers codified in A.R.S. § 31-481 is a reasonable legislative effort to
address problems peculiar to detainers on prisoners incarcerated in another
state. As described in Article I of the Agreement:

       [D]ifficulties in securing speedy trial of persons already
       incarcerated in other jurisdictions[] produce uncertainties
       which obstruct programs of prisoner treatment and


                                      3
                   JIMENEZ v. HON. MINDER/STATE
                         Decision of the Court

       rehabilitation. Accordingly, it is the policy of the party states
       and the purpose of this agreement to encourage the
       expeditious and orderly disposition of such charges and
       determination of the proper status of any and all detainers
       based on untried indictments, informations or complaints.
       The party states also find that proceedings with reference to
       such charges and detainers, when emanating from another
       jurisdiction, cannot properly be had in the absence of
       cooperative procedures. It is the further purpose of this
       agreement to provide such cooperative procedures.

See also United States v. Ford, 550 F.2d 732, 737–41 (2d Cir. 1977) (exploring
the problems stemming from unregulated interstate detainers that led to
adoption of the Agreement). The Agreement reflects a logical policy choice
by the contracting states and provides a reasoned basis for treating out-of-
state prisoners differently. Jimenez’s disparate treatment argument thus
fails.

¶9           Accordingly, although we accept jurisdiction of this special
action, we deny relief.




                          AMY M. WOOD • Clerk of the Court
                          FILED: AGFV




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